Case 1:21-cv-03068-BAH Document 40-8 Filed 07/26/22 Page 1 of 4




       EXHIBIT G
                        Case 1:21-cv-03068-BAH Document 40-8 Filed 07/26/22 Page 2 of 4




              November 17, 2021


              VIA EMAIL AND FEDERAL EXPRESS

              Bridgelink Engineering, LLC       Bridgelink Commodities, LLC
              c/o Cole W. Johnson, Chairman     c/o Cole W. Johnson, Chairman
              777 Main Street, Suite 2800       777 Main Street, Suite 2800
              Fort Worth, TX 76102              Fort Worth, TX 76102

              Bridgelink Investments, LLC       Bridgelink Development, LLC
              c/o Cole W. Johnson, Chairman     c/o Cole W. Johnson, Chairman
              777 Main Street, Suite 2800       777 Main Street, Suite 2800
              Fort Worth, TX 76102              Fort Worth, TX 76102

              Bridgelink Renewable Energy       Intermountain Electric Service, Inc.
              Investments LLC                   c/o Cole W. Johnson, Chairman
              c/o Cole W. Johnson, Chairman     777 Main Street, Suite 2800
              777 Main Street, Suite 2800       Fort Worth, TX 76102
              Fort Worth, TX 76102

              Bighorn Investments and           Bighorn Construction and Reclamation, LLC
              Properties, LLC                   c/o Cole W. Johnson, Chairman
              c/o Cole W. Johnson, Chairman     777 Main Street, Suite 2800
              777 Main Street, Suite 2800       Fort Worth, TX 76102
              Fort Worth, TX 76102

              Cole W. Johnson                   Cord H. Johnson
              777 Main Street, Suite 2800       777 Main Street, Suite 2800
              Fort Worth, TX 76102              Fort Worth, TX 76102

              Cassie J. Hamilton
              777 Main Street, Suite 2800
              Fort Worth, TX 76102




XL Specialty Insurance Company
334 Madison Ave., Morristown, NJ 07960
 axaxl.com
             Case 1:21-cv-03068-BAH Document 40-8 Filed 07/26/22 Page 3 of 4




     Re:      Principal:      Bighorn Construction and Reclamation, LLC
              Obligee:        DEPCOM Power, Inc.
              Contract:       Subcontract between Principal and Obligee for MD70 Richfield Project
              Bond No.:       US00104943SU21A
              Surety:         XL Specialty Insurance Company
              Claimant:       Richfield Farms, LLC


     Dear Messrs. Johnson and Hamilton,

     By letter dated November 11, 2021 (“Revised Collateral Demand”), XL Specialty Insurance
     Company (“XL Specialty” or “Surety”), the surety which issued the referenced performance and
     payment bonds (collectively, the “Bonds”) on behalf of Bighorn Construction and Reclamation,
     LLC (“BCR”), as principal, and in favor of DEPCOM Power, Inc., as obligee, made a revised demand
     for, among things, collateral in the amount of $2,000,000 be deposited with XL Specialty by the
     end of business on November 18, 2021, pursuant to the terms of the General Agreement of
     Indemnity (“Indemnity Agreement”) that each entity and individual to whom this letter is
     addressed (collectively, “Indemnitors”) signed on June 25, 2021. To date, the Indemnitors have
     failed to deposit the collateral demanded.

     In the Revised Collateral Demand, XL Specialty notified the Indemnitors of a claim submitted by
     Richfield Farms, LLC (“Richfield”) under the payment Bond. As noted, Richfield claims that it
     provided fill, stone, and aggregate to BCR on the Project and that it is owed the sum of
     $300,258.49 inclusive of finance charges. On behalf of XL Specialty, we demanded that BCR
     provide us with its position concerning the Richfield claim and all documents to support any
     defense to the Richfield claim.

     On November 16, 2021, XL Specialty received a signed Proof of Claim from an authorized
     representative of Richfield together with a package containing correspondence between BCR’s
     representative and Richfield’s representatives, certain purchase orders between Richfield and
     BCR, Richfield’s invoices to BCR, and numerous delivery tickets and receipts related to Richfield’s
     supply of materials to the Project. Based on XL Specialty’s review of the documents supplied by
     Richfield to date, it appears that Richfield supplied materials to the Project and the amounts
     claimed are due and owing except for finance charges. To date, we have not received the
     Indemnitors’ position with regard to possible defenses related to the Richfield claim. Absent XL
     Specialty’s receipt of BCR’s position related to the Richfield claim, and information and
     documentation to substantiate any such position, XL Specialty will proceed to process the claim
     as appropriate.

     Please be advised that XL Specialty reserves all its rights, remedies, and defenses, none of which
     has been waived in whole or in part. XL Specialty specifically reserves its right to demand



Page 2 |
             Case 1:21-cv-03068-BAH Document 40-8 Filed 07/26/22 Page 4 of 4




     additional collateral. These reservations remain in full force and effect and cannot be waived
     without a writing signed by a representative of XL Specialty.

       If you have any questions regarding this matter, please do not hesitate to contact us.

       Sincerely,




       _____________________________________________




     Barry Huber
     Global Practice Leader
     Political Risk, Credit & Bond
     AXA XL

     XL Specialty Insurance Company
     334 Madison Ave., Morristown, NJ 07960
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     cc:      Louis Modugno, Esq.
              Hardy Mitchell
              Matt Stevens




Page 3 |
